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U.S. COURTS
Ammon Bundy
4615 Harvest Lane MAY 14 2023
Emmett, Idaho 83617-3601 Revd Filed Time.

STEPHEN W. KENYON
aebundy@bundyfarms.com CLERK, DISTRICT OF IDAHO

Defendant in Propria Persona

IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Ammon Bundy, Ammon Bundy for
Governor, Diego Rodriguez, Freedom Man

PAC, People’s Rights Network, Freedom CASE NO, 1:23-CV-212-DCN

Man Press LLC,

Petitioners, AMMON BUNDY’S MEMORANDUM TO
vs. RESPONDENT'S MOTION TO DISMISS

St. Luke’s Health System LTD, St. Luke’s
Regional Medical Center LTD, Chris Roth,
Natasha Erickson, MD, Tracy Jungman,

Respondents.

COMES NOW the Petitioner Ammon Bundy who personally appears before this Court OBJECTING TO THE
FALSE NARRATIVE playing out by Respondents, and states:

1, THIS COURT HAS JURISDICTION PURSUANT TO THE U.S. CONSTITUTION, the UNITED STATES CODE,
and ESTABLISHED CASE LAW.

Respondent's falsely allege that F.R.C.P. 12{h}(3) somehow applies due to lack of subject matter

jurisdiction.

F.R.C.P. RULE 12(h)(3} STANDARD

Federal Rule of Civil Procedure 12(h}(3} instructs: “if the court determines at any time

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that it lacks subject-matter jurisdiction, the court must dismiss the action.” As this language

makes clear, “(t]he objection that a federal court lacks subject-matter jurisdiction may be raised... at
any stage in the litigation, even after trial.” Arbaugh v. ¥Y & H Corp., 546 U.S, 500, 506 {2006): see also
Canadian Overseas Ores Ltd. v. Compania de Acero del Pacifico $.A., 727 F.2d 274, 278 (2d Cir.

1984); 5B Charles A. Wright & Arthur R. Miller, Federal Practice & Procedure § 1350 (“[{}t has long
been well-established that the court’s lack of subject matter jurisdiction may be asserted at any
time,” including after trial and “prior to final judgment,” because “Rule 12(h}{3}... preserv[es] the

defense throughout the action.”}.

The reason for this “springs from the nature and limits of the judicial power of the United States/” which
are “inflexible and without exception.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998)
(quoting Mansfield, C. & L.M.R. Co. v. Swan, 111 U.S. 379, 382 (1884)). “‘Without jurisdiction the court
cannot proceed at all in any cause. Jurisdiction Is power to declare the law, and when it ceases to exist,
the only function remaining to the court is that of announcing the fact and dismissing the cause.” Steel
Co., 523 U.S. at 94 {quoting Ex parte McCardle, 7 Wall. 506, 514 (1868}); see also John B. Hull, Inc. v.
Waterbury Petroleum Prods., Inc., 588 F.2d 24, 27 (2d Cir. 1978) (“[iJurisdiction over the subject matter
provides the basis for the court’s power to act, and an action must be dismissed whenever it appears that

the court lacks such jurisdiction.”) (citing Rule 12{h){3)).

Thus, a court may not “resolve contested questions of law when its jurisdiction is in

doubt,” but must instead decide jurisdiction first. Steel Co., 523 U.S. at 101. To do otherwise, the
Supreme Court has held, is “to act ultra vires.” Id. at 101-02, Because “standing to sue” is a
“threshold jurisdictional question,” id. at 102—and one that the piaintiff “bears the burden” of
proving “at the trial stage,” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992}—this Court
must address that question before it can proceed any further in this case. There is no such thing
as “hypothetical jurisdiction.” Steel Co., 523 U.S. at 101. A court without jurisdiction may not

consider the merits of the plaintiff’s claims—even if only to reject them.

RESPONDENTS seek to make this Court somehow believe that there is no subject matter existing that
allows it to have jurisdiction. Petitioners have numerous grounds of subject matter in controversy that
begin with a Federal Question, Title 28 U.S.C. Section 1343(3); Title 28 U.S.C. Section 1331; and more

substantial is the abuse of process by Respondent’s who served and have unlawfully litigated with an out

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of state resident Diego Rodriguez, which this Court obviously has subject matter jurisdiction pursuant to

Title 28 U.S.C, Section 1332(A)(1) and (3).

THIS COURT HAS JURISDICTION PROPER DUE TO THE FEDERAL RIGHTS, PRIVILEGES, AND |
IMMUNITIES OF THE PETITIONERS BEING VIOLATED. The State Court’s own record shows the tens of |
thousands of pages filed by the Respondent’s in unduly burdening pro se defendants and relentless
harassment using the judicial process. Standing Is an “essential and unchanging” requirement of every
federal case. Lujan, 504 at 560. It applies equally to state cases. This demands that the plaintiff—“for each
claim and form of relief sought”—establish a legally cognizable injury that is “fairly traceable to the
defendant’s allegedly uniawful conduct and fikefy to be redressed by the requested relief.” Daimler

Chrysler Corp. v. Cuno, 547 U.S. 332, 352.(2006); Cacchillo v. insmed, inc., 638 F.3d 401, 404 (2d Cir. 2011).

However, Petitioners have never been allowed to properly bring a defense in state court due to the tens of
thousands of pages of pleadings they have been subjected to. Even if Petitioner Bundy had responded, he
would never have been able to defend against the taxpayer paid onslaught brought about by Respondent
St. Lukes. Even after a year Petitioner Diego Rodriguez has not been abie to even obtain Discovery in the
state case by virtue of the stonewalling process-a David versus Goliath feat. Whether Defendant's

appeared or not, they were subjected to an unlevel and unlawful playing field.

Moreover, St. Lukes mis-quoting case jaw in an effort to subvert the truth from this Court. DIVERSITY OF
CITIZENSHIP of a U.S. Citizen is a CITIZEN-NOT A CORPORATION. Diego Rodriguez is a living man not a
corporation. St Lukes further tells tall tales and lies to this Court that somehow Petitioner Bundy
“controls” all these people. While flattering, it just isn’t true, St. Lukes has made numerous claims and
allegations that are patently false and are printing their own narrative to fit their story while denying

Petitioner’s access to redress by burying them in litigation.

These three elements— injury, causation, and redressability—make up the “irreducible constitutional
minimum of standing.” Lujan, 504 U.S. at 560. if the plaintiff fails to prove them at trial, then the “dispute
is not a proper case or controversy” and the court has “no business deciding it.” Daimler Chrysler, 547 U.S.
at 341, St, Lukes has never proven nor would it allow Petitioner’s through the stonewalling of the
discovery process. St. Lukes has never established an injury that would satisfy all three elements and

would never allow Petitioner’s to prove their case.

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CONCLUSION

There is substantial subject matter for this Court to have and hold jurisdiction over this action. The
Respondent's argument is without merit and baseless. The Federal violations are continuous and ongoing
until and unless this Court takes over and allows Petitioner’s to be heard in a proper and legal forum
without corruption. Then Petitioners can and with a level playing field, show the unlawful and immoral

behavior of St. Lukes and the other Respondents.

DATED THIS DAY, the 11°" of May, 2023.

Ammon Bundy, Petitioner Pro Se

VERIFICATION

|, Ammon Bundy, do hereby verify that the contents contained herein are true and correct to the
best of my belief and knowledge pursuant to the laws of the United States of America, this 11"
day of May, 2023.

Ammon Bundy, Petitioner Pro Se

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CERTIFICATE OF SERVICE

That the original and one copy of the foregoing instrument titled AMMON BUNDY’S
MEMORANDUM TO RESPONDENT'S MOTION TO DISMISS was filed with the United States
District Court, for the District of idaho, located at 550 West Front Street, Suite 400, Boise, Idaho,
83724,

Service time: Service Date: Server Initials:

That the original and one copy of the foregoing instrument titled AMMON BUNDY’S
MEMORANDUM TO RESPONDENT'S MOTION TO DISMISS was served to the respondent's
counsel Holland & Hart, Attn: Erik Stidham at 800 West Main Street, Suite 1750 Boise, ID 83702-
5974.

Service time: Service Date: Server Initials:

That the original and one copy of the foregoing instrument titled AMMON BUNDY’S

MEMORANDUM TO RESPONDENT'S MOTION TO DISMISS was served to the Clerk of the ath
Judicial District Court, County of Ada, State of Idaho, Attn: Judge Lynn Norton at 200 West Front
Street, Boise ID, 83702.

Service time: Service Date: Server Initials:

DATED THIS 11" day of May, 2023.

Ammon Bundy, Petitioner Pro Se

